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Jane Fonda Still Stirring Controversy
Thu Apr 44, 2005 08:06 AM ET

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By Gina Keating

LOS ANGELES (Reuters) - She's back with a tell-all autobiography that has
critics raving over its frankness and with a new movie in which she finally
gets to do something she seldom did in her Hollywqod heyday — have fun
by overacting.

it's springtime for Jane Fonda. After more than a decade pretty much out of
| the public eye, the 67-year-old Oscar-winning actress has resurfaced to
plug the book and a new movie and is receiving the same mix of adulation
and outcry that used to dog every step of her very public life.

Top News Fonda's autobiography "My Life So Far" describes in blunt and painful
detail how she made herself over to please her latelfather, actor Henry
* Republicans May Clear = Fonda, and three husbands. She talks of arranging sexual! threesomes for
Way for DeLay Probe her first husband, French director Rager Vadim, of a 20-year battle against
* World's Biggest Airliner bulimia and of a few regrets about her highly publicized trip to Hanoi to

right Maiden oppose the Vietnam war.

' British Businessman . ;
Convicted in U.S. As letters to newspapers and calls to radio shows have shown over the

Weapons Case past few weeks, Fonda remains a lightning rod for dontroversy. But she

says she now understands and accepts her role as an immutable American
MORE # = icon.

"| have to take responsibility for the fact that | represent something to people that i is beyond me," Fonda
told a small group of reporters in an interview to discuss "Monster-in-Law," in wttich she plays Jennifer
Lopez' fire-breathing mother-in-law.

STICK BY YOUR VALUES

“| represent a movement. | represent a set of values. | have to own that and | have to live that ... to not
disappoint myself. You have to embody your values.”

Perec

"| can't stand complainers," she added. "If you commit yourself to being in the public eye with all the perks, the least y
take the ups and downs."

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"One thing | have learned the hard way is, it ain't gonna kill you,” she added. "ou just plow ahead, and if you're a de
people will know it."

“Everything that is in my book is in it for a reason," she said. "In order to know where I've come from to arrive at 67 ye
feeling like it's the beginning, you have to know the extent to which I have betrayed myself."

"| so thought that | wasn't good enough that | was willing to leave myself at the:door to please the men in my life,” Fon
can't just say that theoretically. | have to say what that meant in a tangible way." Continued ...

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